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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 KIM SNYDER, on behalf of herself and all
 others similarly situated,
                                  Plaintiff,            Civil No. 21-1049 (JRT/BRT)

 v.                                                                  ORDER

 UNITEDHEALTH GROUP, INC. et al.
                           Defendants.


      Alexandra Harwin, SANFORD HEISLER SHARP, 1350 Avenue of the
      Americas, 31st Floor, New York, NY 10019, for plaintiff.

      Brian D Boylek, O'MELVENY & MYERS LLP, 1625 Eye Street, NW,
      Washington, DC 20006, for defendants.

      The parties filed a Stipulation Concerning Class Certification (ECF No. 103) agreeing

to certification of a proposed Class and, on the basis of that Stipulation after independent

inquiry and the filings and proceedings in this case, the Court HEREBY ORDERS THAT:

      1. The Court hereby finds that the requirements for class certification set forth in

          Fed. R. Civ. P. 23(a) and 23(b)(1)(A)&(B) are satisfied.

             a. The numerosity requirement in Fed. R. Civ. P. 23(a)(1) is satisfied, as the

                 Class contains thousands of members.

             b. The commonality requirement in Fed. R. Civ. P. 23(a)(2) is satisfied, as

                 Plaintiff’s Complaint at ¶ 126 alleges multiple questions that are common

                 to the claims of all Class members.
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       c. The typicality requirement in Fed. R. Civ. P. 23(a)(3) is satisfied, as Plaintiff

          and the Class members all participated in the UnitedHealth Group 401(k)

          Savings Plan and all invested in the Wells Fargo Target Fund Suite (or were

          beneficiaries of such participants), and the Class Claims (as hereafter

          defined) are based on alleged violations of ERISA that do not vary between

          Plaintiff and the Class members.

       d. The adequacy requirement in Fed. R. Civ. P. 23(a)(4) is satisfied, as Plaintiff

          Kim Snyder has selected qualified counsel to represent her and has

          affirmed her commitment to serve as class representative.

       e. Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(A), as

          prosecuting separate actions by Class members would create a risk

          of inconsistent adjudications with respect to individual Class members that

          would establish incompatible standards of conduct for the Plan fiduciaries.

       f. Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(B), as

          adjudication of Plaintiff’s claims as a practical matter would be dispositive

          of the interests of the other Class members.

2. Based on the Court’s foregoing findings of fact, the Court hereby certifies the Class

   defined below with respect to the Class Claims specified.

       a. Class Definition: All participants and beneficiaries of the UnitedHealth

          Group 401(k) Savings Plan (“Plan”) who, through the Plan, invested in the

          Wells Fargo Target Fund Suite (comprising first the Wells Fargo Target CIT

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         E3 funds and then the Wells Fargo DJ Target N funds for target date

         vintages 2010, 2015, 2020, 2025, 2030, 2035, 2040, 2045, 2050, 2055, and

         2060) from April 23, 2015, through the date of judgment (the “Class

         Period”), excluding any individuals who served during the Class Period as

         members of UnitedHealth Group Incorporated’s board of directors, any

         individuals who served during the Class Period as members of the

         UnitedHealth Group Retirement Plan’s Investment Review Committee, the

         UnitedHealth Group Employee Benefits Plans Investment Committee, or

         the UnitedHealth Group Employee Benefits Plans Administrative

         Committee, and any individual who served during the Class Period as

         UnitedHealth Group’s Executive Vice President of Human Capital.

      b. Class Claims: (1) breach of the duty of prudence set forth in the Employee

         Retirement Income Security Act of 1974 (“ERISA”) based on Defendants’

         alleged failure to remove the Wells Fargo Target Fund Suite from the

         UnitedHealth Group 401(k) Savings Plan during the Class Period, and (2)

         breach of the duty of prudence set forth in ERISA based on Defendants’

         alleged failure during the Class Period to monitor the individuals who

         possessed delegated authority to remove the Wells Fargo Target Fund

         Suite from the UnitedHealth Group 401(k) Savings Plan.

3. The Court previously reviewed the credentials of Sanford Heisler Sharp, LLP and

   specific attorneys from Sanford Heisler Sharp, LLP to serve as class counsel

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       pursuant to Fed. R. Civ. P. 26(g)(1), and the Court appointed them as Interim Class

       Counsel at Doc. 49. The Court hereby appoints David Sanford, Charles H. Field,

       Alexandra Harwin, Kevin Sharp, Leigh Anne St. Charles, Johan Conrod, and Sanford

       Heisler Sharp, LLP as Class Counsel in this case pursuant to Fed. R. Civ. P. 23(g)(1).



Dated: February 2, 2022                              ____s/John R. Tunheim____
at Minneapolis, Minnesota.                               JOHN R. TUNHEIM
                                                             Chief Judge
                                                     United States District Court




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